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June 1, 2018
HIGHLY CONFIDENTIAL—FILED UNDER SEAL

Via ECF

Hon. Michael A. Hammer, U.S.M.J.
Martin Luther King Building

& U.S. Courthouse

50 Walnut Street

Newark, NJ 07101

Re: Celgene Corp. v. Par Pharm., Inc., C.A. No. 2:17-3159-ES-MAH
Celgene Corp. v. Hetero Labs Ltd., C.A. No. 2:17-3387-ES-MAH

Dear Judge Hammer:

This firm, together with Taft Stettinius & Hollister LLP, represents Defendants Apotex
Inc. and Apotex Corp. (collectively, ‘““Apotex”), and Hetero Labs Limited, Hetero Labs Limited
Unit-V, Hetero Drugs Limited, and Hetero USA, Inc. (collectively, “Hetero’”), in the above-
referenced 17-3387 action. Pursuant to Your Honor’s instruction at the May 11, 2018 status (17-
3387 ECF No. 165), we write on behalf of Apotex and Hetero; Defendants Mylan
Pharmaceuticals Inc., Mylan Inc., and Mylan N.V. (collectively, “the Mylan Defendants”); Teva
Pharmaceuticals USA, Inc. (“Teva”); Aurobindo Pharma Limited, Aurobindo Pharma USA, Inc.,
Aurolife Pharma LLC, and Eugia Pharma Specialties Limited (collectively, “Aurobindo”); and
Breckenridge Pharmaceutical, Inc. (“Breckenridge”) (all defendants collectively, Defendants”),
and Plaintiff Celgene Corporation (“‘Celgene” or “Plaintiff’), in connection with Defendants’
request for leave to file for summary judgment of non-infringement of U.S. Patent No. 8,828,427
B2 (427 patent’).

DEFENDANTS’ POSITION:
I. INTRODUCTION.
Celgene instituted this action alleging that Defendants’ ANDAs seeking FDA approval to

market 1, 2, 3, and 4 mg capsules of pomalidomide infringe four patents, including the ’427
patent, which claims specific capsule formulations of pomalidomide.' Defendants respectfully

 

See generally, 17-3159 ECF No. 1, Compl.; 17-3387 ECF No. 1, Compl.; see also, Ex. A, °427
patent at claims. Through counterclaims Celgene has asserted five more patents against four of
the Defendants—Apotex, Hetero, Breckenridge, and Aurobindo.
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request leave to file for summary judgment of non-infringement of the *427 patent, as
Defendants have designed around the *427 patent, Celgene concedes no literal infringement, and
Celgene is estopped from asserting infringement under the doctrine of equivalents (“DOE”) for
two independent reasons: (1) Celgene narrowed its claims during prosecution to avoid the prior
art (“amendment-based estoppel”), and (2) Celgene made clear and unmistakable arguments
which surrendered claim scope beyond the specific capsules claimed in the ’427 patent
(“argument-based estoppel”). Spectrum Pharm., Inc. v. Sandoz Inc., 802 F.3d 1326, 1337 (Fed.
Cir. 2015). As the Supreme Court and Federal Circuit have repeatedly held, prosecution history
estoppel (““PHE”) is a legal issue “to be determined by the court, either on a pretrial motion for
partial summary judgment or on a motion for judgment as a matter of law at the close of the
evidence and after the jury verdict.” Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S.
17, 39 n.8 (1997) (emphasis added); DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567
F.3d 1314, 1323 (Fed. Cir. 2009).

The Supreme Court has further explained that “[e]stoppel is a ‘rule of patent
construction’ that ensures that claims are interpreted by reference to those ‘that have been
cancelled or rejected.’” Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722,
733 (2002) (citation omitted) (“Festo USSC”’). As the Parties and the Court will be embarking
on claim construction shortly, which will involve consideration of the prosecution histories of the
patents-in-suit,” Defendants respectfully request that opening and responsive summary judgment
briefing parallel the opening (November 15, 2018) and responsive (February 15, 2019) claim
construction briefing dates in the Court’s Pretrial Scheduling Order, with an additional date for
Defendants’ reply summary judgment brief.

Judicial economy counsels in favor of granting Defendants leave. The Parties and the
Court should not have to spend any time, and Defendants should not have to accommodate the
amount of time and expense relating to the discovery that Celgene is proposing in its responsive
portion of the letter, taking a patent through discovery for which there are no material issues of
fact concerning non-infringement and for which there is a threshold legal issue (PHE) that needs
to be decided.

Il. DEFENDANTS ARE ENTITLED TO JUDGMENT OF NON-INFRINGEMENT.

A. Celgene Concedes No Literal Infringement.

Celgene asserts that: a) Defendants’ | mg pomalidomide capsules infringe ’427 patent
claims 3-4; b) Defendants’ 2 mg capsules infringe claims 5-6; c) Defendants’ 3 mg capsules

 

> Defendants will not be relying upon expert testimony in connection with their opening
summary judgment papers. Defendants’ grounds for summary judgment are based solely on the
prosecution history of the °427 patent. Nevertheless, any argument from Celgene that summary
judgment is premature because the Parties have not completed expert discovery is moot as
Celgene will be able to include any expert opinions it needs in opposition to summary judgment
with any declarations it submits from its experts during claim construction.

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infringe claims 7-8; and d) Defendants’ 4 mg capsules infringe claims 9-10.° FY

 
   

In its pleadings, Celgene has
accused each defendant of “[i]nfringement of the ’427 [p]atent,"”” which includes both literal and
DOE infringement. However, Celgene expressly concedes that Defendants’ pomalidomide
capsules do not literally infringe the asserted claims.° Defendants are thus entitled to at least
summary judgment of no literal infringement.

B. Celgene Is Estopped from Asserting Infringement under the DOE.
1. Amendment-Based Estoppel.

The °427 patent issued from U.S. Patent Application No. 12/783,390 (‘390
application”). The original claims filed were essentially directed to “oral dosage forms”
weighing certain amounts and “compris[ing]: 1) pomolidomide [sic], or a pharmaceutically
acceptable salt or solvate thereof, at an amount that provides [1, 2, 3, or 4 mg potency] of
pomolidomide [sic]; and 2) a pharmaceutically acceptable carrier or excipient.”’ In response to
indefiniteness rejections and obviousness rejections based on the prior art, Celgene narrowed its
claims by, inter alia, including limitations specifying the required presence of three excipients—
pregelatinized starch, sodium stearyl fumarate, and spray dried mannitol—at certain required
amounts, and by specifying that the claimed dosage forms were capsules.® See Honeywell Int’]
Inc. v. Hamilton Sundstrand Corp., 370 F.3d 1131, 1139-40 (Fed. Cir. 2004) (adding claim
limitations constitutes a narrowing amendment).

These narrowing amendments automatically trigger a presumption “that the patentee
surrendered all subject matter between the broader and the narrower language.” Festo USSC,
535 U.S. at 740. Celgene can overcome this presumption only by showing: (1) unforeseeability
of the alleged equivalent at the time of amendment; (2) the rationale underlying the amendment

 

> Ex. B, Celgene’s °427 patent infringement contentions to Apotex, Hetero, the Mylan
Defendants, Teva, Aurobindo, and Breckenridge, respectively.

* See also, Ex. D, Composition Statements from each defendant’s ANDA.
> See, e.g., 17-3387 ECE No. 1, Compl. Jf 241-285 and prayers for relief.
° See generally, Ex. B; see also, Ex, E, Status Hr’g Tr, 21:11-14, May 11, 2018.

7 Ex. F, 390 Application Prosecution History (‘390 PH”), Original Application at 44-48
(CELPOM00001542-46).

8 Id. at April 24, 2012 Office Action at 2-11 (CELPOM00001644-53); id. at Aug. 16, 2012
Amendment at 3-5, 7 (CELPOM00001684-86, -88); id. at Nov. 15, 2012 Office Action at 2-15
(CELPOM00001791-804); id. at Feb. 13, 2013 Amendment at 2-5 (CELPOM00001818-21); id.
at March 25, 2013 Advisory Action at 1-4 (CELPOM00001834-37); id. at June 7, 2013
Supplemental Amendment at 2-4 (CELPOM00001851-53).

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bears no more than a tangential relation to the equivalent; or (3) some other reason suggesting
that the patentee could not be reasonably expected to have described the equivalent. Id. at 740-
4]. PHE and the rebuttal of any presumption are legal issues for the Court to resolve (including
any underlying factual issues). Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 344 F.3d
1359, 1367-69 (Fed. Cir. 2003) (‘‘Festo IX’).

In its infringement contentions, Celgene does not rely on exceptions (1) or (3);° Celgene
only relies on exception (2), arguing that the rationale underlying its narrowing amendments was
related to the “ratio of binder to filler,’ and bears only a tangential relation to the changes
Defendants have made.'? At the outset, the tangential relation exception is to be assessed ‘“‘very
narrow[ly],” Honeywell Int'l, Inc. v. Hamilton Sundstrand Corp., 523 F.3d 1304, 1315-16 (Fed.
Cir. 2008) (“Honeywell IP’), and “is for the court to determine from the prosecution history
record without the introduction of additional evidence, except, when necessary, testimony from
those skilled in the art as to the interpretation of that record,” Festo IX, 344 F.3d at 1369-70
(emphasis added).

Celgene’s arguments regarding the tangential relation exception are incorrect as a matter

of law, as the alleged equivalents in Defendants’ ANDA Qi
nee cus on the specific pregelatinized

starch, sodium stearyl fumarate, and spray dried mannitol limitations that Celgene added during
prosecution to avoid the prior art. These amendments “bore a direct, not merely tangential,
relation to the equivalent[s].” Honeywell IT, 523 F.3d at 1316. By amending its claims to require
very specific amounts of pregelatinized starch, sodium stearyl fumarate, and spray dried
mannitol, Celgene was distinguishing all prior art dosage forms of pomalidomide with different
amounts of the recited ingredients, or different ingredients altogether, not just a “ratio of binder
to filler.”'! See Chimie v. PPG Indus., Inc., 402 F.3d 1371, 1383 (Fed. Cir. 2005) (“[Patentee]
amended its [precipitated silica claim] to incorporate numerous limitations identifying the
specific characteristics that distinguished its invention from the prior art, including the trait that it

” See generally, Ex. B, A=
ee
a )

ee Pesto Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 493 F.3d
1368, 1382 (Fed. Cir. 2007) (‘An equivalent is foreseeable if one skilled in the art would have

known that the alternative existed in the field of art as defined by the original claim scope, even
if the suitability of the alternative for the particular purposes defined by the amended claim scope
were unknown.”).

 

0 See, e.g., Ex. B, Celgene’s ’427 patent infringement contentions to Apotex at 112.

'' Ex, F, ’390 PH, June 17, 2013 Supplemental Amendment at 7-8 (CELPOM00001856-57)
(“{T]here simply is no disclosure in the cited references that would have prompted one skilled in
the art to prepare a composition having pomalidomide at the specified amounts, along with the
particular binders and fillers at the specified amounts.” (emphasis added)).

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was ‘dust-free and non-dusting.’ [The patentee]’s articulation of these characteristics was not
limited to the form of the silica produced,” and all other forms of silica were “presumptively
surrendered.”). Any dispute over the rationale for the amendment is a legal issue for the Court to
decide. Festo IX, 344 F.3d at 1369-70.

2. Argument-Based Estoppel.

In tandem with its narrowing amendments, Celgene argued that the prior art did not
disclose its specific capsule formulations as amended,’” and that its narrowed claims were
patentable because the specific ingredients recited gave rise to a capsule formulation that was
superior in stability to other pomalidomide dosage forms. Specifically, Celgene argued that,
despite 1:1 compatibility tests it carried out showing pomalidomide compatible with a number of
excipients, during product development it found that many formulations of pomalidomide were
unstable, and that its testing showed “unexpected[ly] . . . that not just any excipients (for
example, those listed [in the prior art]) can be combined to provide the favorable stability
exhibited by the currently claimed dosage forms.”'* Celgene then submitted a declaration from
Anthony Tutino, a named inventor, who presented data allegedly showing that the claimed
formulation was more stable than nine other pomalidomide formulations.’ Based on the Tutino
declaration, Celgene argued that “picking any excipients from the list of excipients provided in
[the prior art] would not have achieved the stability possessed by the currently claimed
pomalidomide dosage forms,” and that this “unexpected and superior stability data” established
the non-obviousness of the claimed pomalidomide capsules over the prior art.’ Celgene argued
that it was the “specific excipients at specific amounts |which] provide favorable stability [of the
claimed dosage forms] required for clinical use.”'*®

These statements amount to “clear and unmistakable expressions of [Celgene’s] intent to
surrender” pomalidomide capsules beyond the specific formulations recited in the claims.
Spectrum, 802 F.3d at 1338. In Spectrum, the applicants argued that their composition claims
required a minimum of four grams of the drug, and that the claims “define an aspect of the
invention that is of great practical significance.” Jd. This was enough for the Federal Circuit to
find surrender for doses smaller than four grams, id., and supports estoppel here. Resolution of
whether arguments made during prosecution rise to the level of estoppel is a legal issue for the
Court. Spectrum, 802 F.3d at 1337; Mark I Mktg. Corp. v. R. R. Donnelly & Sons Co., 66 F.3d
285, 291 (Fed. Cir. 1995),

 

? Td.

'? Td. at 8 (CELPOM00001857).

'* Ex. F, ’390 PH, Decl. by Anthony Tutino at 1-5 (CELPOM00001 861-65).

'5 Id. at June 17, 2013 Supplemental Amendment at 9-10 (CELPOM00001858-59).
'8 Id. at 9 (CELPOM00001 858) (emphasis added).

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Il. NO MATERIAL FACT ISSUES PRECLUDING SUMMARY JUDGMENT.

In its portion of the instant letter, Celgene goes through great lengths to argue that
material fact issues preclude summary judgment. These arguments should be rejected.

First, Celgene’s argument that Defendants’ intention to seek leave to amend their non-
infringement contentions ‘“‘might very well change” the accused equivalents in Defendants’
ANDA products (see 13-14, infra) is a red herring—Defendants only seek to respond to
Celgene’s DOE arguments, which it raised only after Defendants served their non-infringement
contentions. More importantly, Defendants’ responses to Celgene’s DOE arguments cannot alter
Defendants’ ANDA products and the features of those products that Celgene alleges are
equivalent to missing claim terms. Moreover, Defendants are proposing that summary judgment
briefing be concurrent with claim construction briefing, which will not commence until
November 15, 2018 (17-3387 ECF No. 123 at 5)—nearly six months from now. Thus, any
amendments to the Parties’ contentions will be completed well before then, and Celgene’s
meritless complaints on this issue will be moot.

Second, Celgene’s assertion that the rationale underlying its narrowing claim
amendments is an issue of material fact precluding summary judgment (see, 10, infra) is
incorrect and contrary to the law. Festo IX’s instruction that this Court may rely, “when
necessary, [on] testimony from those skilled in the art as to the interpretation of [the prosecution
history],” Festo IX, 344 F.3d at 1369-70, means only that such testimony can be used to help
understand scientific concepts in the prosecution history; it does not mean that expert testimony
can contradict the plain meaning of the prosecution history. Merck & Co. v. Mylan Pharm., Inc.,
19 F. Supp. 2d 334, 351 n.30 (E.D. Pa. 1998), aff’d, 190 F.3d 1335 (Fed. Cir. 1999) (rejecting an
expert’s proffered interpretation of the prosecution history “that would alter the indisputable
public record”).'’ PHE, including any underlying factual issues, is a legal issue for the court to
decide, and the inquiry into the rationale underlying a narrowing amendment (to assess the
tangential relation exception) is a “very narrow” one to be decided by the court based on the
prosecution history alone. Festo IX, 344 F.3d at 1367-69; Depuy, 567 F.3d at 1324; Honeywell
H, 523 F.3d at 1315-16. The Federal Circuit has rejected attempts by patent owners to rely on
extrinsic evidence, including expert declarations, to establish the reasons underlying claim
amendments or to create fact issues to avoid summary judgment. Pioneer Magnetics, Inc. v.
Micro Linear Corp., 330 F.3d 1352, 1356 (Fed. Cir. 2003) (“Only the public record of the patent

 

"7 Celgene’s argument that any disagreement between the Parties regarding the meaning of
“amount levels” as used in the prosecution history creates a “heighten[ed] . . . need for both fact
and expert discovery” (see 11, infra), which precludes summary judgment, is meritless. As
Defendants are requesting summary judgment briefing concurrent with claim construction
briefing, where the Parties and the Court will already be interpreting the prosecution history,
Celgene is free to submit expert declarations supporting its interpretation of the prosecution
history, but resolution of any dispute between the Parties as to its meaning is a “purely legal
issue” for the Court to decide via summary judgment. Bayer AG v. Elan Pharm. Research
Corp., 212 F.3d 1241, 1254 (Fed Cir. 2000); Depuy, 567 F.3d at 1324.

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prosecution, the prosecution history, can be a basis for such a reason. Otherwise the public
notice function of the patent record would be undermined.”); Bayer, 212 F.3d at 1254
(“[T]estimony as to what a reasonable competitor would conclude from the prosecution history
cannot create a genuine issue of material fact so as to bar summary judgment.” (emphasis
added)); Intellectual Ventures I LLC v. T-Mobile USA, Inc., No. 13-1632-LPS (consol.), 2017
WL 3723934, at *4-*5 (D. Del. Aug. 29, 2017) (“[E]xpert opinions cannot establish tangentiality
or the reason for an amendment.”); Not Dead Yet Mfg., Inc. v. Pride Solutions, LLC, 265 F.
Supp. 3d 811, 832 (N.D. Ill. 2017). This Court and others have granted summary judgment of
non-infringement based on PHE, and have rejected related requests for discovery. AstraZeneca
UK Ltd. v. Dr. Reddy’s Labs., Ltd., No. 08-3237 (MLC), 2010 WL 4721384, at *8-*9 (D.N.J.
Nov. 15, 2010); Aventis Pharm., Inc. v. Barr Labs., Inc., 335 F. Supp. 2d 558, 567-74 (D.N.J.
2004); Intellectual Ventures, 2017 WL 3723934, at *4-*5,

Third, Celgene’s arguments based on Kyowa Hakka Bio, Co. v. Ajinomoto Co., No. 17-
313, 2018 WL 834583 (D. Del. Feb. 12, 2018), and the Hormone Research Foundation vy.
Genentech, Inc., 904 F.2d 1558 (Fed Cir. 1990) (“HRF’”) case it relies on (see 11-12, infra),
should be rejected. HRF is an outdated case that was essentially overruled by the Supreme Court
in Warner-Jenkinson, which held that PHE is a legal issue to be decided by the court via a
pretrial summary judgment motion (or post-trial via JMOL after a jury verdict). Warner-
Jenkinson, 520 U.S. at 39 n.8. HRF was also decided before the Supreme Court’s Festo
decision, and before the Federal Circuit applied that decision in Festo IX and numerous other
cases, unambiguously holding that PHE is a legal issue to be resolved by the court in its entirety,
and rejecting attempts by patent owners to rely on expert testimony to create fact issues. See,
¢.g., Depuy, 567 F.3d at 1323-24; Bayer, 212 F.3d at 1254; Spectrum, 802 F.3d at 1337.

Thus, the Delaware Kyowa case relies on bad law. While Celgene appears to concede
that whether an amendment is made for patentability reasons is a legal issue, Celgene
nevertheless argues, based on Kyowa, that the “scope of disclaimer” is a fact issue precluding
summary judgment. (See 11, infra). This finds no basis in Federal Circuit law, or the law of any
other District. The only rebuttal factor that Celgene raises in response to Defendants’ argument-
based estoppel defense is the tangential relation exception, which focuses only on the legal issue
of whether the rationale underlying the amendment bears no more than a tangential relation to
the equivalent—there is no “scope” analysis. If the tangential relation exception is not
established (as is the case here), PHE completely bars resort to the DOE, and the claim is not
entitled to any equivalents. Festo USSC, 535 U.S. at 740-41; Honeywell II, 523 F.3d at 1315 (“If
the prosecution history reveals no reason for the narrowing amendment, [or if it reveals a reason
not tangential to the equivalent], the presumption [of estoppel] is not rebutted.”). In fact, the
language from Kyowa that Celgene relies is directly contradicted by the Delaware court’s earlier
pronouncement on the law of PHE: “expert opinions cannot establish tangentiality or the reason
for an amendment.” Intellectual Ventures, 2017 WL 3723934, at *5.

Fourth, Celgene’s argument that summary judgment prior to expert discovery would
deprive it of the opportunity to present expert testimony “based, in part, on the factual record”
(see 12-13, infra) ignores the Federal Circuit’s mandate that this Court must decide the tangential

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relation exception to PHE “from the prosecution history record without the introduction of
additional evidence.” Festo IX, 344 F.3d at 1370. Thus, testimony from Mr. Tutino that Celgene
would like its experts to rely on—presumably to explain away arguments Mr. Tutino made
during prosecution which support estoppel—is irrelevant to PHE and would not preclude
summary judgment. Aventis, 335 F. Supp. 2d at 572 (rejecting request for more discovery);
Intellectual Ventures, 2017 WL 3723934, at *4-*5 (same).

Fifth, and finally, Celgene’s argument that consideration of Defendants’ ANDAs
warrants a narrow application of PHE under the “reasonable competitor” standard (see, 13, infra)
is based on the legally erroneous premise that Defendants’ ANDAs may be considered in
assessing PHE, and should be rejected. Pioneer, 330 F.3d at 1356; Bayer, 212 F.3d at 1254.

IV. CONCLUSION.

Defendants respectfully request leave to file for summary judgment of non-infringement
of the ’427 patent with their opening claim construction papers.

* * *

PLAINTIFF’S POSITION:

I. INTRODUCTION

This Hatch-Waxman patent-infringement case involves nine patents-in-suit (including the
’427 patent) and six defendants. The ’427 patent contains only 8 of the 239 asserted claims in
this case. The claims of the °427 patent are directed to formulations containing pomalidomide.
Celgene’s Pomalyst® drug product is an embodiment of the asserted claims of the ’427 patent.

Defendants’ request for leave to file an early summary judgment motion for non-
infringement of the ’427 patent should be denied for several reasons. Defendants’ legal theories
are wrong, and several material facts are in dispute.'® Moreover, the 30-month stay of FDA
approval of Defendants’ ANDAs does not expire until August of 2020. Celgene respectfully
submits that there is no urgency that warrants the Court deciding Defendants’ infringement of the
’427 patent on the present, undeveloped record, especially given the statutorily-granted time to
resolve this case. And given the eight other patents-in-suit, Defendants’ proposed motion would
be far from case dispositive even if it were decided in Defendants’ favor.

Furthermore, Defendants recently disclosed that they intend to move to amend their non-
infringement contentions. The prosecution history estoppel (“PHE”) analysis on which
Defendants’ motion rests entails consideration of the accused equivalent. Here, the accused
equivalent might very well change if Defendants’ motion to amend their contentions is granted.
Defendants’ argument to the contrary lacks merit, as Defendants cannot claim to know how

 

'§ To the extent that Defendants take the position that the facts Celgene raises are not in dispute,
then Defendants have no good-faith basis to pursue their non-infringement theories.

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Celgene may amend its contentions after it has seen and considered Defendants’ new positions.
This further cuts against consideration of an early summary judgment motion. Defendants’
request is premature at best, and should be denied for this additional reason.

II. LEGAL STANDARDS

“In order for prosecution history estoppel to apply{, ] there must be a deliberate and
express surrender of subject matter.” Kyowa Hakka Bio Co. v. Ajinomoto Co., No. 17-313, 2018
WL 834583, at *6 (D. Del. Feb. 2, 2018) (citing Southwall Tech., Inc. v. Cardinal IG Co., 54
F.3d 1570, 1580 (Fed. Cir. 1995)) (denying motion to dismiss for non-infringement due to
‘factual questions” regarding PHE). The applicants made no such surrender during prosecution
of the ’427 patent. And even if the Court were to apply a presumption that amendments made
during prosecution amounted to such a surrender, “the patentee can rebut the presumption of
surrender by showing,” among other things, “that the rationale underlying the narrowing
amendment bore no more than a tangential relation to the equivalent in question.” Honeywell
Int'l Inc. v. Hamilton Sundstrand Corp., 370 F.3d 1131, 1145 (Fed. Cir. 2004) (remanding to
district court for findings on this and other issues) (internal citations and quotations omitted).

Summary judgment is proper only where “there is no genuine dispute as to any material
fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Summary
judgment is a drastic remedy and is therefore granted cautiously. See Anderson v. Liberty Lobby,
Inc., 477 U.S. 242, 255 (1986). The moving party bears the burden of showing the absence of
genuine issues of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The
Supreme Court has cautioned that there must be ‘adequate time for discovery” before such a
burden can be met. See id, In evaluating a motion for summary judgment, the Court may not
make credibility determinations or weigh the evidence. Metropolitan Life Ins. Co. v. Bancorp
Serv., LLC, 527 F.3d 1330, 1338-39 (Fed. Cir. 2008).

Il. ARGUMENT

A. Disputed Material Facts Exist Regarding
The Existence And Extent Of Any Estoppel

Contrary to Defendants’ assertion, the applicants of the ’427 patent did mot surrender any
subject matter during prosecution. Defendants argue that PHE bars Celgene from asserting
infringement under the doctrine of equivalents because the applicants allegedly narrowed the
claims of the ’427 patent during prosecution by: (1) “specifying the required presence of three
excipients—pregelatinized starch, sodium stearyl fumarate, and spray dried mannitol—at certain
required amounts, and by specifying that the claimed dosage forms were capsules”; and
(2) arguing to the patent office that it was those specific ingredients, at those specific amounts,
that gave rise to the “superior stability to other pomalidomide dosage forms.”

As Defendants acknowledge, however, Celgene contends that any amendments and
arguments made during prosecution were, at most, tangential to the accused equivalents.

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Celgene also disputes that the scope of any purported, surrendered subject matter is as broad as
Defendants contend.

Quoting Festo IX, Defendants claim that Celgene’s “tangential exception” contentions
are:

for the court to determine from the prosecution history record
without the introduction of additional evidence, except, when
necessary, testimony from those skilled in the art as to the
interpretation of that record.

Festo IX, 344 F.3d at 1369-70 (emphasis added). Defendants’ emphasis on only part of this
quote is telling and exposes the flaw in their analysis. Specifically, Defendants bold the portion
of the quote that they apparently believe supports resolving these issues on summary judgment.
Yet they entirely ignore the critical language that Celgene has underlined above regarding the
need for interpretation of the file history in this case, including by those skilled in the art.

Defendants incorrectly contend that Celgene surrendered all subject matter except
specific amounts of specific ingredients. Properly considered, the prosecution history shows that
any amendments and arguments made during prosecution related to the “amount levels,” or
ratios, of binder (starch) to filler (mannitol) in the claimed inventions. (See, e.g., Ex. 1,
Celgene’s Infringement Contentions to Hetero at 111.) Accordingly, to the extent that there is
any PHE at all, Celgene did not disclaim the claimed ratios of mannitol to starch (and
equivalents thereto). Sodium stearyl fumarate (the other ingredient on which Defendants focus)
is not a binder or filler and, thus, is not relevant to any PHE arguments. (See id.)

SD) Defendants seek to avoid infringement, by arguing

that:

Celgene was distinguishing all prior art dosage forms of
pomalidomide with different amounts of the recited ingredients, or
different ingredients altogether, not just a “ratio of binder to filler.”

This is a material fact in dispute, the resolution of which will be based on other disputed
material facts. In other words, in addressing the infringement issues in this case, the Court must
resolve whether Celgene disclaimed other lubricants and all other amounts of the claimed binder
and filler—as Defendants contend—or if Celgene disclaimed only amounts of binder and filler
that did not fall within the claimed ratio of mannitol to starch (and equivalents thereto)—as
Celgene contends. Thus, the Court must determine the scope of any PHE, to the extent there was
any at all. As explained below, resolution of this dispute will involve fact and expert discovery.
Thus, material facts are in dispute, and summary judgment is inappropriate. Defendants’ efforts
to rush to judgment regarding their infringement of the 427 patent on an undeveloped record

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that does not yet include any discovery on these disputed factual issues would serve only one
purpose—to unfairly prejudice Celgene.

First, remarks made by the applicants in response to an office action during prosecution
of the °427 patent support Celgene’s ratio contention. Specifically, the response to the office
action states that it was “unexpected” that the “amount levels” of the binder and filler “would
bring about any advantageous properties in combination with Pomalidomide.” (Ex. 2, 8/16/12
Response to Office Action at 9-10 (emphasis added).) Before this Court can resolve
infringement of the 427 patent, the parties need to engage in discovery on this disputed issue.
For example, Celgene intends to introduce evidence that one of skill in the art would understand
“amount levels” to be referring to ratios of binder to filler, and not to any specific amounts of
either, and not to any lubricant. See Festo IX at 1369-70 (recognizing the need for expert
testimony to interpret disputed portions of the file history); Hormone Research Foundation, Inc.
v. Genentech, Inc., 904 F.2d 1558, 1567 (Fed. Cir. 1990) (vacating and remanding summary
judgment of non-infringement based on PHE because different “possible interpretations” of
arguments during prosecution presents a “factual question” that “precludes summary judgment”).

Defendants argue that expert testimony is inappropriate because “such testimony can
[only] be used to help understand scientific concepts in the prosecution history; it does not mean
that expert testimony can contradict the plain meaning of the PHE.” But to the extent that
Defendants disagree that “amount levels” refers to ratios (and, instead, means specific amounts
of each ingredient), then the prosecution history does not have a “plain meaning.” As explained
below, both the inventor declaration submitted during prosecution and the specification of the
"427 patent focus on ratios of binder to filler as the claimed invention, and the claims cover those
ratios. This further supports Celgene’s position. At the very least, it adds to any ambiguity
present in the intrinsic record, heightening the need for both fact and expert discovery.

The cases that Defendants rely upon—holding that PHE is an issue of law—do not stand
for the proposition that there can never be a disputed issue of material fact with respect to PHE.
Instead, the cited cases hold that the reason or rationale for amendments made during
prosecution, and whether any PHE should apply in the first place, are issues of law that do not
require expert discovery. See Merck, 19 F.Supp. at 351 1.30 (rejecting consideration of expert
report where there was an unambiguous amendment, but patentee argued the amendment was
made for restriction, not patentability, purposes, and the expert repeated that argument); Pioneer,
330 F.3d at 1356 (‘‘[W]e do not consider the Beecher declaration in determining the reason for
the amendment to the claim”); Intellectual Ventures, 2017 WL 3723934, at *5 (noting that expert
opinion cannot supply the “reason” for the amendment); Not Dead Yet, 265 F. Supp. 2d at 832
(rejecting expert opinion concerning whether statements constituted disclaimer as opposed to
“isolated statements” unrelated to patentability), Celgene, however, is not relying on material
facts relating to the reason or rationale for any amendment made during prosecution. Instead,
Celgene is relying on material facts relating to the scope of disclaimer (if any) that any claim
amendment may have introduced. Defendants’ cited cases are silent on this issue, and do not
demonstrate that the scope of any PHE can be decided as a purely legal issue. Defendants’ cases
are, therefore, inapplicable to the disputed material factual issues at hand, and they do not
address the need for fact and expert discovery in this case. In contrast, the cases cited by

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Celgene (e.g., Festo IX, Hormone Research, Kyowa) clearly demonstrate that fact and expert
discovery appropriately aid in determining the scope of any disclaimer and in resolving
ambiguity in the intrinsic record.

Defendants also incorrectly argue that Hormone Research is ‘an outdated case that was
[(1)] essentially overruled” by Warner-Jenkinson in 1997; and (2) decided before the Federal
Circuit applied Warner-Jenkinson in Festo IX in 2003. Hormone Research was cited and
followed as recently as February 2018 by the District of Delaware to deny an early motion
regarding PHE because “the scope of estoppel depends on factual questions regarding the
prosecution history, which may preclude a disposition of the issue not only on a motion to
dismiss, but on summary judgment.” Kyowa, 2018 WL 834583, at *6 (emphasis added). This
directly supports Celgene’s position that disputed issues of material fact related to the scope of
any estoppel cannot be resolved on summary judgment. And contrary to Defendants’
implication, different possible interpretations of arguments made during prosecution preclude
summary judgment on the issue of alleged PHE.

Finally with respect to this issue, Defendants’ offer to allow Celgene to introduce expert
testimony in the context of claim construction proceedings (see n.2) is unworkable and
prejudicial to Celgene. As explained below, such expert testimony will be based, in part, on the
factual record. Celgene should be allotted “adequate time for discovery” to develop that factual
record. See Celotex, 477 U: S. at 323. As such, expert testimony cannot be offered during the
claim construction phase.'? Moreover, Defendants’ statement that they will not rely upon expert
testimony * ‘in connection with their opening summary judgment papers” (n.2 (emphasis added))
is particularly troubling. Defendants are hedging on whether competing expert opinions will
result, perhaps through expert testimony submitted with Defendants’ reply papers. Competing
expert testimony defeats summary judgment. See, e.g., Metropolitan, 527 F.3d at 1338-39
(vacating summary judgment of non-infringement because of “a direct conflict in the
declarations as to a material fact under [one party’s] interpretation of the claims”); In re
Gabapentin Patent Litig., 395 F. Supp. 2d 175, 180 (D.N.J. 2005) (finding that conflicting expert
reports created disputed issues of material fact).

Second, Defendants apparently intend to rely upon a declaration submitted during
prosecution by one of the 427 patent’s inventors, Dr. Anthony Tutino, in support of their motion
for summary judgment. Celgene will introduce factual testimony from Dr. Tutino himself
regarding the claimed inventions. Celgene should also, for the reasons stated above, be afforded
the opportunity to introduce expert testimony regarding one of ordinary skill’s interpretation of
Dr. Tutino’s declaration and testimony. Again, disputed issues of material fact will result from
this evidence.

For example, Defendants argue that Dr. Tutino’s declaration limits the claims to specific
amounts of specific ingredients. Defendants ignore, however, that Dr. Tutino’s discussion in his

 

'? Defendants also proposed several terms from the ’427 patent for construction, which may
affect Celgene’s infringement arguments—and, in turn, the PHE arguments—in this case.

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declaration of ‘Formulation F, i.e., [the] formulation claimed” (Ex. 3, 6/14/13 Declaration of
Anthony Tutino, at 4), does not support Defendants’ desired limitations. Rather, Dr. Tutino’s
declaration demonstrates that Formulation F contains a different ingredient—croscarmellose
sodium. (/d. at 3.) In other words, the “formulation claimed” is not limited to pregelatinized
starch, spray-dried mannitol, and sodium stearyl fumarate, as Defendants allege. (See id.)
Likewise, Formulation F does not have the specific amounts of ingredients to which Defendants
argue the claims should be limited. Rather, Formulation F—consistent with Celgene’s ratio
contention—has a ratio of mannitol to starch of 1:1.1. (See id. (reporting 50% starch and 43.35%
mannitol in Formulation F).) The °427 patent’s specification also states that the “ratio of
mannitol:starch in the dosage form is from about 1:1 to about 1:1.5” (Ex. 4, ’427 patent at 7:1-2),
and the ratio of mannitol to starch in the claims falls within that range (id. at claims). All of
these facts disprove Defendants’ PHE argument. At a minimum, they create disputed issues of
material fact.

Third, even assuming that any PHE exists—it does not—Defendants’ ANDAs also
demonstrate that the scope of any alleged PHE would be extremely narrow. Determining
whether and what subject matter was surrendered “depends on what a competitor, reading the
prosecution history, would reasonably conclude was given up by the applicant.” Jnsituform
Techs, v. Cat Contracting, Inc., 99 F.3d 1098, 1107-08 (Fed. Cir. 1996). Defendants are
Celgene’s competitors here.

This is actual evidence of competitors trying, but failing, to design around what is
claimed in the ’427 patent.” Defendants’ failures to avoid infringing the ’427 patent constitute
evidence of what a reasonable competitor would think was surrendered (if anything). Celgene
intends to further develop this evidence with both: (1) fact discovery, including at least through
interrogatories and fact depositions, and then (2) expert discovery, including testimony regarding
how an ordinarily skilled artisan would interpret Defendants’ ANDAs and the factual evidence
related thereto. Thus, this case is unlike the Bayer case cited by Defendants. In Bayer, the
Federal Circuit rejected expert testimony from a “professor of patent law” relating to how one

 

*0 Of course, Defendants dispute all of this, as they must. If they accepted it, they would have
to stipulate to infringement of the ’427 patent and their motion for summary judgment would be
baseless for this additional reason. That they dispute these material facts undermines their
assertion that infringement is ripe for summary judgment.

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would interpret the file history in question. See 212 F.3d at 1251, 1254. The Bayer court did not
reject factual evidence from an actual competitor (and then a scientific expert’s interpretation of
that factual evidence). Defendants’ reliance on Bayer is, therefore, misplaced.

For the foregoing reasons, even if there is any PHE, the scope of that estoppel will be
affected by several material facts in dispute that preclude summary judgment. See Kyowa, 2018
WL 834583, at *6 (“[T]he scope of estoppel depends on factual questions regarding the
prosecution history, which may preclude a disposition of the issue not only on a motion to
dismiss, but on summary judgment.”).

B. Defendants’ Intent To Move To Amend Their
Non-Infringement Contentions Precludes A PHE Analysis

On May 23, 2018, Defendants notified Celgene of their intention to move to amend their
non-infringement contentions. (See Ex. 7, 5/23/18 e-mail from K. Reichenbach to F. Calvosa.)
As explained above, a presumption that an amendment during prosecution resulted in estoppel
can be rebutted by showing that “‘the rationale underlying the narrowing amendment bore no
more than a tangential relation to the equivalent in question.” Honeywell, 370 F.3d at 1145
(emphasis added). Celgene’s infringement contentions accused certain aspects of Defendants’
ANDA Products as “equivalents” based on allegations in Defendants’ original December 15,
2017 non-infringement contentions. But if Defendants are granted leave to amend their non-
infringement contentions, Celgene will likely then need to amend its own infringement
contentions in response to Defendants’ new positions. In those amended contentions, Celgene
may need to accuse other aspects of Defendants’ ANDA Products as “equivalents.” In other
words, “the equivalent in question,” and therefore the “tangential relation” analysis, remains
subject to change. Defendants’ argument that their “responses to Celgene’s DOE arguments
cannot alter... the features of [their ANDA] products that Celgene alleges are equivalent” is
baseless. Defendants cannot claim to know how Celgene may amend its contentions after it has
seen and considered Defendants’ new positions. For this additional reason, undertaking a PHE
analysis at this time is premature.

C. Literal Infringement Is Not At Issue For The ’427 Patent

Defendants also argue that they are “entitled to summary judgment of no literal
infringement.” As Defendants note, however, Celgene is not asserting literal infringement for
the ’427 patent. Accordingly, there is no relief to be had on this non-issue.

IV. CONCLUSION

For the foregoing reasons, Celgene respectfully requests that the Court deny Defendants
leave to file for summary judgment of non-infringement of the ’427 patent.

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Thank you for your attention to and consideration of this request.

Respectfully submitted,

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Attachments
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